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                              UNITED STATES DISTRICT COURT
                                    DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA
                vs.                                  CRIMINAL NO. 1:21-CR-733(CRC)
 JEREMY BAOUCHE                                      February 15, 2023


                DEFENDANT’S MEMORANDUM IN AID OF SENTENCING
       Counsel for the defendant files this brief supplemental sentencing memorandum to alert the

Court to two factual issues in anticipation of the February 15, 2023 sentencing in this matter.

       1. On page 10 (first sentence of bottom paragraph) of the Government’s Sentencing

           Memorandum, the government contends that Mr. Baouche “researched information

           about the Capitol Building layout a month prior to coming to Washington.” The defense

           respectfully disagrees with this characterization. It has reviewed Mr. Baouche’s

           workplace search history and it sees no searches of this nature occurring prior to January

           6, 2021. Mr Baouche performed these searches on January 7, concedes it was because he

           had been there, and would be consciousness of guilt evidence. He does not, however,

           recall searching for the building’s layout prior to January 6, 2021 and the document

           reviewed by the defense seems to suggest these searches post-dated January 6.

       2. Mr. Baouche paid his restitution and assessment on February 10, 2023. Counsel has

           submitted the Pay.gov receipt to probation and the government.

                                                    Respectfully Submitted,

                                                    /s/Daniel M. Erwin/s/
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                                 CERTIFICATION OF SERVICE

        This is to certify that on February 15, 2023, a copy of the forgoing was filed electronically
via the Court’s CM/ECF system, and by that system, counsel for the Government has been provided
with a copy of the forgoing.

                                           /s/Daniel M. Erwin/s/
                                              Daniel M. Erwin




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